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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 22-20104-CR-BECERRA

  UNITED STATES OF AMERICA,

                 Plaintiff,
  v.

  ARCANGEL PRETEL ORTIZ, et al,

                 Defendant.
                                    /


                  JOINT DEFENSE MOTION TO CONTINUE TRIAL

        Arcangel Pretel Ortiz, Antonio Intriago, Walter Veintemilla, Christian Sanon,

  and James Solages jointly move this Court to continue the trial in this case until

  October, 2025. For the below reasons, the interests of justice support the requested

  continuance.

        On May 12, 2024, the defendants filed a joint motion to continue the trial in

  this matter based on the voluminous nature of the discovery, the time consuming

  nature of reviewing discovery with clients in light of the broad protective order in

  place, the challenges presented by the large amounts of discovery in Spanish and

  Haitian Creole languages, and the release of an indictment by Haitian officials, which

  charged a separate conspiracy than the one charged by the U.S. government. The

  defense jointly requested a March, 2025 trial date. [DE:623]. The Court granted the

  motion, in part, and set a January 21, 2025 trial date instead. [DE:639]. Since that

  time, the parties have been diligently preparing for trial. However, it has become



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  clear that despite the best efforts of defense counsel, the defense cannot be prepared

  to provide effective assistance of counsel if trial were to commence at the currently

  set January trial date.

      I.      Discovery is extraordinarily voluminous and ongoing.

           The government has thus far provided 16 numbered discovery productions and

  14 unnumbered productions, the most recent on September 12, 2024. The productions

  total 16.3 terabytes of data and over 6.5 million files in over 39,000 folders.1 This

  estimate is specific to the discovery production for counsel from the Federal Public

  Defender’s Office (“FPD”), but all defendants have received similar, if not the same,

  amounts of discovery with similar timing. When the defense previously requested a

  March, 2025 trial date, it informed the Court that it had received 7 terabytes of

  discovery and that there were approximately 120 devices included in discovery (at

  that time). Further, at the time of that request, the defense teams were in the initial

  stages of processing the device extractions and were not able to assess the size of

  those devices. The FPD and several other lawyers stated that new computers had to

  be purchased because the files were so large that it caused computers to crash.

  Notably, the amount of discovery that the defense based its request for a March, 2025

  trial date on has now doubled in size. As of the filing of this motion, the discovery

  produced thus far total 16.3 terabytes, including the devices which were not

  previously measured.




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   Each terabyte equals 1000 gigabytes; each gigabyte equals 1000 megabytes; each
  megabyte equals 1000 kilobytes.

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        Taking just the PDF reports produced to date in discovery by the government

  and putting aside the videos, audio files, and images also produced, it would take 4.5

  years, at 1 minute per page, reviewing 24 hours a day, to review just the devices that

  have been turned over by the government. Accordingly, a continuance of 9-months,

  to October, 2025 provides a reasonable amount of time for defense counsel to work

  towards the review of all discovery materials, investigation (when necessary) from

  those materials, and preparation for trial.

        Finally, defense counsel believes additional discovery is still forthcoming. At

  this point, the volume or significance of the discovery is unknown to the defense. As

  additional facts are learned in this case, certain materials in discovery that

  previously appeared to be of little or limited significance, become far more important

  than previously understood. In these instances defense counsel is required to go back

  to the former materials and engage in additional review. This is due to the form in

  which discovery has been provided to date, both in piecemeal fashion across

  numerous disclosures, and as a mixed, voluminous “dump” of all materials, requiring

  defense counsel to put the materials together not unlike a puzzle.

        Given the volume of the discovery and complexity of the case, defense counsel,

  all experienced lawyers, have dedicated extraordinary amounts of time and resources

  to the case. Despite those resources and determined effort, none of the lawyers have

  reviewed even 50% of the discovery that has been produced thus far.

        In sum, the amount of discovery is extraordinary. Defense counsel needs

  sufficient time to effectively review the discovery provided. Consequently, defense



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  counsel is asking to continue the trial 9-months from the current trial date to October,

  2025.

     II.      A significant portion of the discovery requires translation from
              Spanish or Haitian Creole.

           In addition, a significant portion of the discovery is in Haitian Creole or

  Spanish. For example, most of the text messages on the devices provided are in

  Spanish or Creole. Further, it is not just written messages that need translation;

  there are hundreds of voice messages that require interpretation as well. While the

  government has provided translations for some of the text chains and documents,

  they have not provided translations for everything in discovery. As this Court is

  aware, the defense needs to review all of the discovery provided, and not just the

  translated documents.

           There have been, and undoubtedly will be many more, documents and

  conversations that defense counsel is obligated to review in order to prepare for trial,

  but for which the government has not provided translations. Even determining from

  discovery what needs to be translated is a time-consuming process that is on-going.

  Additionally, translations are expensive. The FPD has offered to assume most of the

  financial burden of translation costs for the defense. However, FPD resources are not

  unlimited. It would cost hundreds of thousands of dollars to translate all of the

  discovery that has been produced without translations. Therefore, the lawyers have

  been attempting to use their best judgment to narrow down portions of the discovery

  that will be needed for trial. This is a tedious process because that determination is

  difficult to make, especially for the materials in Haitian Creole, because none of the


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  lawyers or their teams have an understanding of the language. It would be helpful if

  the government would provide a list of items that it has sent out for translation, that

  it intends to produce, so that the defense may allocate resources to other materials.

     Consequently, the defense needs additional time to obtain and review the needed

  translations.

     III.   The protective order has significantly slowed discovery review
            with the defendants.

        As explained in our prior motion to continue the trial date, the restriction in

  the protective order prohibiting defense counsel from leaving with the defendants

  copies of certain discovery items covers nearly all of the discovery. The government

  has agreed to remove some portions of the discovery (phone extractions of our client’s

  devices) from the restricted § 3500 materials designation so that defense counsel may

  leave some discovery with our clients to review independently. However, that only

  applied to a tiny fraction of the discovery that has been produced to date.

        As a result, defense counsel has been unable to leave significant discovery with

  the defendants for their review, and the defendants have been reviewing discovery

  during legal visits at the Federal Detention Center. It is worth stating that counsel

  does not have access to internet at the Federal Detention Center. As such, defense

  counsel cannot access the servers that hold our discovery. Defense counsel is forced

  to download specific portions of the discovery onto a laptop for each visit. Given the

  restriction and the volume of discovery, the time needed to sit with our respective

  clients to review discovery is far beyond that of a regular case. Consequently, defense

  counsel needs additional time to meaningfully review discovery with our clients.


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      IV.      The case is significantly more complex than cases with even similar
               volumes of discovery.

            It is not just the volume of discovery that requires the requested continuance.

  The facts alleged and the facts relevant to the defense investigation and trial

  preparation are extraordinarily complex. The defense is not only obligated to review

  the discovery provided by the government, but is also obligated to investigate all

  potential defenses arising from the facts surrounding the case. The review and

  investigation thus far shows the investigation needed in this case will be significantly

  more time-consuming and complex than most. For example, counsel has tabulated

  over 200 key people involved in the case. Additionally, investigation will require

  international and national travel. It will require finding documents and people in

  foreign countries. It will also potentially involve traveling with government

  protection.

            As the defense conducts its preliminary investigation, it has become clear that

  there are several United States government agents and intelligence officers who are

  directly or indirectly connected to the alleged conspiracy. The bulk of this evidence is

  only accessible to the government and some of it exists outside of the United States.

  The defense anticipates that obtaining this crucial evidence will result in extensive

  litigation as the government has invoked the Classified Information Protection Act

  and has opposed the defense’s request to get the appropriate security clearances.2




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    At a previous status hearing the Court indicated that it was inclined to order one person per
  defense team begin the clearance process. The defense requests an order to that effect so the
  lawyers can begin the process.

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           Consequently, defense needs the time between now and the requested trial

  date in October to identify what avenues of investigation are needed, plan the

  investigation, and complete it.


     V.       Mr. Ortiz had an unexpected change in counsel.

     Mr. Ortiz’s lead counsel was former AFPD Julie Holt, from his initial appearance

  on February 14, 2023, until she left the Federal Public Defender’s office in May, 2024.

  AFPD Bunmi Lomax, having already been assigned to the case as second-chair,

  became lead counsel upon Ms. Holt’s departure. AFPD Jan Smith joined the case in

  June, 2024. The FPD has made every effort to make the transition as seamless as

  possible. While, Mr. Smith is quickly getting up to speed, he is new to the case and

  needs additional time to review the voluminous discovery and prepare for trial.

     VI.      Conclusion

           A defendant’s right to due process encompasses “sufficient time within which

  to prepare a defense.” Gandy v. Alabama, 569 F.2d 1318 (5th Cir. 1978). The ability

  to prepare a defense is prejudiced and good cause exists to warrant a continuance.

  See, e.g. United States v. Verderame, 51 F.3d 249, 252 (11th Cir. 1995); Schwarz v.

  United States, 828 Fed. Appx. 628, 632 (11th Cir. 2020) (finding the court abused its

  discretion in not granting a continuance and explaining that, “under certain

  circumstances, denial of motions for a continuance of trial may vitiate the effect of

  this fundamental right). For the above reasons, defense counsel are jointly requesting

  the trial in this case be continued until October, 2025. Given the scope, complexity,

  and seriousness of the case, the defense contends that the requested time is


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  reasonable. The government has been investigating this case since the days following

  the charged conduct, in July, 2021. Approximately three and a half years later, the

  government is still reviewing and producing discovery. This fact speaks to the amount

  of time needed to be ready for trial in this case. Defense counsel conferred with AUSA

  Andrea Goldfarb who indicated that the government does not oppose a defense

  continuance. However, the government believes an approximately two-month

  continuance is appropriate. As explained above, that timeline is not realistic for the

  defense teams. Notably, for the first year of the pendency of this case, none of the

  undersigned defense counsel were in the case. The government has had this case for

  well over a year longer than the defense. The defense request for an October, 2025

  trial date is a result of due consideration of several important factors, the most

  pertinent being the time needed to prepare. The defense also considered the desire

  for a specially set trial date and to avoid multiple requests for shorter continuances.

  Additionally, the defense considered the anticipated difficulty in identifying enough

  jurors who could sit for a lengthy trial during the summer months when schools are

  not in session and many people have prescheduled travel plans.




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        Defendants Pretel Ortiz, Intriago, Veintemilla, Sanon, and Solages agree to

  the exclusion of the time from the filing of this motion to the requested trial date from

  the Speedy Trial period, pursuant to 18 U.S.C. § 3161.


                                    Respectfully submitted,

                                    HECTOR DOPICO
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                           CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 30, 2024, I electronically filed the
  foregoing document with the Clerk of the Court using CM/ECF. I also certify that
  the foregoing document is being served this day on all counsel of record or pro se
  parties identified on the attached Service List in the manner specified, either via
  transmission of Notices of Electronic Filing generated by CM/ECF or in some other
  authorized manner for those counsel or parties who are not authorized to receive
  electronically Notices of Electronic Filing.

                                 /s/Bunmi Lomax
                                 Bunmi Lomax




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